101 F.3d 696
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Harold Dean RIVERS, Defendant-Appellant.
    No. 96-6609.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 7, 1996.Decided Nov. 18, 1996.
    
      Harold Dean Rivers, Appellant Pro Se.  Julie C. Dudley, Assistant United States Attorney, Roanoke, Virginia, for Appellee.
      Before RUSSELL and WIDENER, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion filed under 28 U.S.C. § 2255 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.   We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   United States v. Rivers, Nos.  CR-77-8;  CA-95-328-R (W.D.Va. Mar. 18, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.*
    
    AFFIRMED
    
      
        *
         We also deny Appellant's motion requesting hand-written copies of the court reporter's notes
      
    
    